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       Attorneys for Defendant CHW GROUP, INC.



                              UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF OREGON

                                   PORTLAND DIVISION

REBECCA PRESTON,                                Case No.: 3:19-cv-00048-AC

               Plaintiff,                       STIPULATED MOTION TO EXTEND
                                                TIME TO RESPOND TO FIRST
       v.                                       AMENDED COMPLAINT

CHW GROUP, INC., D/B/A/ CHOICE
HOME WARRANTY,

               Defendant.


                            LR 7.1 CERTIFICATION OF CONFERRAL

       In accordance with LR 7-1(a), the Parties hereto have conferred regarding this Motion

and are in agreement to extending the time for Defendant CHW Group, Inc. (“Defendant”) to

respond to Plaintiff Rebecca Preston’s (“Plaintiff”) First Amended Complaint filed February 8,

2019 (Dkt. 9) in the above-captioned matter.




1 - STIPULATED MOTION TO EXTEND            OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
TIME TO RESPOND TO FIRST AMENDED                                                    The KOIN Center
COMPLAINT                                     222 SW Columbia Street, Suite 1500 | Portland, OR 97201
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                                              MOTION

        Pursuant to Fed. R. Civ. P. 16(b)(4), the parties hereby stipulate and jointly move the

Court for an order extending the time for Defendant to respond to Plaintiff’s First Amended

Complaint (ECF No. 9, “FAC”), filed by Plaintiff on February 8, 2019, by two weeks, from

February 22, 2019 to and including March 8, 2019.

                               STATEMENT OF GOOD CAUSE

        Good cause exists for granting the instant Motion and extending the time for Defendant

to respond to Plaintiff’s FAC for the following reasons: Counsel for Plaintiff and Defendant
have met and conferred extensively and in good faith regarding the FAC, and they have

discussed, among other things, possibly reaching an extra-judicial resolution of the parties’

dispute and/or submitting this matter to arbitration, either of which may obviate the need for

Defendant to respond to the FAC. So that the parties can see those discussions through to their

natural conclusion, and for the sake of judicial and party economy, the parties have stipulated

and agreed to extend Defendant’s deadline to respond to the FAC, which is currently set for

February 22, 2018, by a period of two weeks, to and including March 8, 2019. Moreover, the

extension is not being sought for the purpose of delay, and granting it will not prejudice any

party to this action, as all parties are in agreement.1




1 By this Motion, Defendant does not waive any objections or defenses to the FAC, or any other
rights available to it under applicable law, including the right to compel arbitration if necessary.
The parties have agreed to be bound by this stipulation pending Court approval of same.

2 – STIPULATED MOTION TO EXTEND                OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
TIME TO RESPOND TO FIRST AMENDED                                                        The KOIN Center
COMPLAINT                                         222 SW Columbia Street, Suite 1500 | Portland, OR 97201
                                                              Phone: 503-552-2140 | Fax: 503-224-4518
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         WHEREFORE, for all of the foregoing reasons, the parties respectfully request that the

instant Motion be granted and that Defendant’s deadline to respond to the First Amended

Complaint be extended to and including March 8, 2019.

         Dated February 20, 2019.


s/Sharon D. Cousineau2                             s/Christopher A. Morehead
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Fax 312-253-4451                                   Attorneys for Defendant CHW GROUP, INC.
taylor@agrusslawfirm.com

Attorneys for Plaintiff REBECCA PRESTON




2   Authorization to file confirmed by email on February 19, 2019.
3   Authorization to file confirmed by email on February 20, 2019.

3 – STIPULATED MOTION TO EXTEND              OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
TIME TO RESPOND TO FIRST AMENDED                                                      The KOIN Center
COMPLAINT                                       222 SW Columbia Street, Suite 1500 | Portland, OR 97201
                                                            Phone: 503-552-2140 | Fax: 503-224-4518
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on the date set out below, I served the foregoing STIPULATED

MOTION TO EXTEND TIME TO RESPOND TO FIRST AMENDED COMPLAINT on:

Sharon D. Cousineau                                Taylor Kosla, admitted pro hac vice
Samwel Cousineau, PC                               Agruss Law Firm, LLC
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Fax 360-750-3788                                   Fax 312-253-4451
sdcousineau@gmail.com                              taylor@agrusslawfirm.com

Attorney for Plaintiff                             Attorney for Plaintiff



       by electronic means through the Court’s Case Management/Electronic Case File system,
        which will send automatic notification of filing to each person listed above.

       by mailing a true and correct copy to the last known address of each person listed. It was
        contained in a sealed envelope, with postage paid, addressed as stated above, and
        deposited with the U.S. Postal Service in Portland, Oregon.

       by causing a true and correct copy to be hand-delivered to the last known address of
        each person listed. It was contained in a sealed envelope and addressed as stated above.

       by causing a true and correct copy to be delivered via overnight courier to the last
        known address of each person listed. It was contained in a sealed envelope, with courier
        fees paid, and addressed as stated above.

       by emailing a true and correct copy to the last known email address of each person listed,
        with confirmation of delivery.

        Dated: February 20, 2019.

                                             OGLETREE, DEAKINS, NASH, SMOAK &
                                             STEWART, P.C.

                                             By:    s/ Kai Jones
                                                    kai.jones@ogletreedeakins.com
                                                    Practice Assistant
                                                    Telephone: (503) 552-2140


                                                                                            37479011.1


CERTIFICATE OF SERVICE                      OGLETREE, DEAKINS, NASH, SMOAK & STEWART, P.C.
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